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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

                                                       Civil Action No. 2:17-cv-07952-MCA-ESK
 ROCHELLE TILLETT,                                          Hon. Madeline C. Arleo, U.S.D.J.
                                                              Hon. Edward S. Kiel, U.S.M.J.
                        Plaintiff,

         v.                                                   Document Filed Electronically

 AUTOZONERS, LLC, et al,
                                                        STIPULATION OF DISMISSAL WITH
                        Defendants.                               PREJUDICE


         The matter in difference in the above-captioned action having been amicably adjusted by

 and between Plaintiff, Rochelle Tillett, and Defendants, AutoZoners, LLC and Tamara Hamilton,

 by and through their respective counsel, it is hereby stipulated and agreed that all claims asserted

 by Plaintiff against Defendants be and
                                      d are hereby dismissed with prejudice and without attorney’s
                                                                                        attorn

 fees, expenses or costs assessed against
                                      nst any party.



 DEREK SMITH LAW GROUP, PLLC             LLC           JONES WALKER LLP
 Attorneyss fo   laintiff, Rochelle Tillett
            for Plaintiff,               tt            Attorneys for Defendant, AutoZoners, LLC and
                                                       Tamara Hamilton


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 Attorneys for Defendants, AutoZoners, LLC             Attorneys for Defendant, AutoZoners, LLC and
 and Tamara Hamilton                                   Tamara Hamilton



 Laurie M. Riley, Esq. (admitted pro hac vice)         Elizabeth
                                                          zabeth Y
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                                                                          Esq.




                                                       SO ORDERED
                                                         s/Madeline Cox Arleo       .
 {M1776336.1}                                  1       MADELINE COX ARLEO, U.S.D.J.

                                                       Date: 1/22/21
